                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

   IN RE:                                         §                      Case No: 18-10554
                                                  §                             Chapter 13
   MAUREEN L ADAIR                                §
   aka MAUREEN ADAIR, MD,                         §
   Debtor                                         §

 ORDER DENYING DEBTOR’S OBJECTION TO PROOF OF CLAIM [NO. 9] FILED
 BY DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR LONG
               BEACH MORTGAGE LOAN TRUST 2001-2
                                       [DOCKET NO. 45]

       On consideration of Proof of Claim No. 9, Debtor’s “Objection to Proof of Claim [No. 9]

Filed by Deutsche Bank National Trust Company as Trustee for Long Beach Mortgage Loan Trust

2001-2” filed on September 21, 2018 (Docket No. 45) (hereinafter “the Objection to Claim”), and

the Response filed by Select Portfolio Servicing, Inc. as mortgage servicer for Deutsche Bank

National Trust Company formerly known as Bankers Trust Company of California, N.A., as

Trustee for Long Beach Mortgage Loan Trust 2001-2 (“SPS”), it is

       ORDERED that the Debtor’s Objection to Claim (Docket No. 45) is denied, and the Proof

of Claim of SPS filed on August 27, 2018 (Claim No. 9) is allowed as filed.

                                     # # # END OF ORDER # # #
